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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION
FLETCHER SINGLETARY, JR.,
Plaintiff, CIVIL ACTION NO.:

V.

 

OMEGA STEEL, INC.,
DEMAND FOR JURY TRIAL

Defendant.

 

 

COMPLAINT
COMES NOW, Fletcher Singletary, Jr., Plaintiff in the above captioned action, by and
through her counsel of record, and files this Complaint against Defendant Omega Steel, Inc. and
shows this Honorable Court the following:
INTRODUCTION
This is an action alleging age and disability discrimination and retaliation in violations of
the Age Discrimination in Employment Act of 1967, as amended and the Americans with
Disabilities Act of 1990, as amended (“ADA”), which prohibits discrimination on the basis of
disability and retaliation on the basis of protected activity (requesting reasonable
accommodations). Plaintiff is seeking injunctive, equitable, and monetary relief against Defendant.
PARTIES, JURISDICTION, AND VENUE
1. Plaintiff is over the age of eighteen (18) and is a resident of Evans County, Georgia.
2. Defendant is a domestic profit corporation, registered and authorized to conduct business
in the State of Georgia. Defendant is located in Chatham County, Georgia and all conduct alleged

in this Complaint occurred in Chatham County, Georgia. Service may be had upon its Registered
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Agent, Drexel Taylor, located at 3375 US Highway 80, Bloomington, Chatham County, Georgia
31302.
3. Jurisdiction and venue are proper.
4. Plaintiff has timely fulfilled all administrative requirements prior to bringing this action.
FACTUAL ALLEGATIONS

5. Plaintiff re-alleges and incorporates the allegations contained in all prior paragraphs of this
Complaint as if fully alleged herein.

6. At all times relevant to this Complaint, Plaintiff worked for Defendant as a sandblaster in
the paint department commencing sometime in June 2011.

7. Atall times relevant to this Complaint, Plaintiff is a senior citizen being born on September
14, 1954 and 66 years old.

8. Plaintiff is a person with a disability as defined by the ADA. Specifically, Plaintiff
suffers/suffered from chronic lung and heart disease.

9. Defendant was aware of Plaintiffs condition and need for workplace accommodations
based on written documentation from his doctors which Plaintiff provided to Defendant.

10. On or about April 2, 2020, Plaintiff provided Defendant with a note from his physician
stating his recommendation for Plaintiff to stay home from work due to Plaintiff's vulnerability
and risk to contracting the COVID-19.

11. Atall times relevant to this Complaint, Defendant knew or should have known that the
COVID-19 mortality rate was highest among those who are senior citizens and those with pre-

existing respiratory conditions, including heart and lung disease.
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12. On or about April 2, 2020, Plaintiff inquired with Sable Taylor about his eligibility for
benefits under the federal government’s Coronavirus Aid Relief entitled Payroll Protection
Program (hereinafter “PPP”).

13. Plaintiff was informed that due to his age and disabilities, he would qualify to receive
benefits as his doctor has already established Plaintiff’s risk and excused him from work as a result
of those risks.

14. Onor about April 5, 2020, Plaintiff informed Sable Taylor that he would not return to work
until the end of the pandemic due to his high-risk and vulnerabilities to contracting the COVID-
19 virus and as his medical doctor recommended.

15. On or about April 5, 2020, Defendant’s owner, Drexel Taylor, informed Plaintiff that he
did not qualify and would not receive benefits under PPP because Plaintiff was choosing or
refusing to work.

16. Onor about November 10, 2020, Plaintiff received a letter from his health insurance carrier
informing him that his medical coverage ended on October 1, 2020, the date of his termination.

17. Defendant, at no time relevant to this Complaint, informed Plaintiff that he was in jeopardy
of losing his position, the reasons for his termination, nor corrective actions to be taken in order to
save his position with the company.

18. Defendant intentionally discriminated against Plaintiff based on his age and disability, his
history of disability, and/or Defendant’s perception of Plaintiff as an individual with a disability,
by failing to allow Plaintiff to receive Coronavirus relief benefits under PPP and stay home from
work in an effort to reduce his risk of contracting the deadly COVID-19 virus as his doctor ordered.

19. Defendant’s actions violates Plaintiff’s rights under the Americans with Disabilities Act,

as amended. Plaintiff also believes that Defendant’s termination of his employment was in
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retaliation of Plaintiff's decision to follow his doctor’s orders and remain home from work due to
his high-risk and vulnerabilities of contracting the COVID-19 virus. Plaintiff also alleges that these
actions were in violation of the provisions of the Federal Legislation covering the PPP program.

20. On or about May 19, 2021, Plaintiff received a Notice of Right to Sue from the U.S. Equal
Employment Opportunity Commission office in Savannah, GA. (Notice is attached hereto as
“Exhibit A”).

21. Defendant’s actions resulted in Plaintiffs unduly loss of employment, income, health
insurance coverage, and retirement benefits. |

22. Plaintiff suffered an adverse employment termination as a result of his inability to continue
working through a global pandemic of which he is most susceptible to contracting, and with fatal
consequences, due to his age and disabilities.

CAUSE OF ACTION
COUNT 1

Termination in Violation of the Americans with Disability Act, as Amended (ADA)

23. Plaintiff re-alleges and incorporates the allegations contained in all prior paragraphs of this
Complaint as if fully alleged herein.

24. Defendant is an employer in accordance with 42 U.S.C. §12111(5).

25. Plaintiff is a person with a disability in that he has a physical impairment which
substantially limits one or more of his major life activities. 42 U.S.C. §12102. F urthermore, he is
a qualified individual with a disability in that he has a record of impairment and is perceived as
having an impairment which substantially limits one or more major life activities in accordance
with 42 U.S.C. §12102.

26. Despite Plaintiffs disability, he is and was able to perform the essential functions of his

position as a sandblaster for Defendant over the past nine (9) years.
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27. Defendant intentionally, maliciously, and with reckless indifference failed and terminated
the Plaintiff because of his actual or perceived disability or his record of a disability.

28. Plaintiff seeks to redress the wrongs alleged herein in this Complaint.

29. Plaintiffis now suffering, and will continue to suffer, irreparable injury from Defendant’s
unlawful policies and practices as set forth herein unless enjoined by this Court.

30. Asa result of Defendant’s actions, Plaintiff has suffered extreme harm, including, but not
limited to, loss of employment security, loss of income and financial security, and loss of several
health insurance and retirement benefits. Additionally, Plaintiff has suffered injury, including
pain, humiliation, mental anguish and suffering and loss of enjoyment of life.

COUNT II
Retaliation in Violation of the Americans with Disability Act, as Amended (ADA)

31. Plaintiffre-alleges and incorporates the allegations contained in all prior paragraphs of this
Complaint as if fully alleged herein.

32. After Plaintiff notified Defendant of his health concerns with working during the pandemic,
Plaintiff was treated differently because of his disabilities. Plaintiff was given conflicting
responses to his inquiries about PPP relief depending on which manager he was speaking with at
the time.

33. Plaintiff's inquiry about PPP with Drexel Taylor resulted in the false accusation that
Plaintiff chose or refused to work and did not acknowledge the serious health threats imposed on
Plaintiff if he continued to work; nor did it acknowledge Plaintiff's doctor’s orders to stay home
due to his age and disabilities.

34. Plaintiff, at all times relevant to this Complaint, has first-hand knowledge of his medical

condition and limitations, and as such, he adhered to the recommendations of Coronavirus
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scientists and researchers, and adhered to his doctor’s orders, by staying home and staying safe,
until the pandemic slowed down. As a result of this concern, he was terminated.

35. Defendant’s reasons for Plaintiffs termination was a pretext for discrimination because of
disability and in retaliation for Plaintiffs making complaints about his treatment because of his
disability and/or discrimination.

36. Defendant intentionally, maliciously, and with reckless indifference terminated Plaintiff in
retaliation for his complaints about his treatment received after inquiring to the owner about his
qualification for PPP benefits while he stayed home from work because of his disability and/or
discrimination.

37. Plaintiff seeks to redress the wrongs alleged herein in this suit for the loss of his
employment and income security, an injunctive and a declaratory judgment. Plaintiff is now
suffering, and will continue to suffer, irreparable injury from Defendant’s unlawful policies and
practices as set forth herein unless enjoined by this Court.

38. Asa result of Defendant’s actions, Plaintiff has suffered extreme harm, including, but not
limited to, loss of employment, loss of income, and loss of health insurance and retirement benefits.
Additionally, Plaintiff has suffered injury, including pain, humiliation, mental anguish and
suffering, and loss of enjoyment of life.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that this Court assume jurisdiction of this
action and after trial:

1. Issue a declaratory judgment that the employment policies, practices, procedures,
conditions, and customs of the defendant are violative of the rights of Plaintiff as secured by the

Americans With Disabilities of Act 1990, as amended, 42 U.S.C. Section 12101, et seq. and §504.
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2. Grant Plaintiff a permanent injunction enjoining the Defendant, its agents, successors,
employees, attorneys, and those acting in concert with the Defendant and at the Defendant’s
request from continuing to violate the Age Discrimination in Employment Act of 1967, as
amended, and the Act of Congress known as the Americans With Disabilities of Act 1990, as
amended, 42 U.S.C. Section 12101, et seq. and §504.

3. Enter an Order requiring the Defendants to make the Plaintiff whole by awarding him
monetary judgment for lost wages and benefits, to include, medical overpayments and fees
incurred with his health insurance carrier.

4. Plaintiff further prays for such other relief and benefits as the cause of justice may require,
including, but not limited to, an award of costs, attorney’s fees, and expenses.

PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL CLAIMS.
Respectfully submitted,

This, the day of , 2021.

/s/ Joseph J. Steffen, Jr.
Joseph J. Steffen, Jr.
GEORGIA BAR NO.: 677766
Attorney for Plaintiff

 

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